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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 0:22-CR-60204
UNITED STATES OF AMERICA,
Vv.

ROYAL AIR MUSEUM, INC.,

Defendant.
/

NOTICE OF APPEARANCE AND E-MAIL ADDRESS DESIGNATION

THE UNDERSIGNED COUNSEL hereby enters his Notice of Appearance as Counsel of record for
the Defendant in the above-styled cause and would request the Clerk of Court to furnish any paperwork in this
case to the undersigned. In accordance with Florida Rule of Judicial Administration 2.516, hereby designates

the following as his primary email addresses:

Primary E-Mail: skaplan@stuartnkaplanpa.com

Secondary E-Mail: rbailey@stuartnkaplanpa.com
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by email
brett.seiger@usdoj.gov, Brett R. Geiger, AUSA, United States Attorney’s Office, 99 Northeast 4" Street,

Suite 300, Miami, Florida 33132, masv35@aol.com., fougal01@aol.com, Mark A. Schneider, Esquire, Law

Offices of Mark A. Schneider, P.A, 1100 Lee Wagner Boulevard, Sute 321, Fort Lauderdale, Florida 33315,
selzmuvdi(@aol.com, Steven M. Selz, Esquire, 500 University Boulevard, Suite 110, Jupiter, Florida 33458

this BY ay of February, 2025.

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